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JEFFREY A. WURST Hearing Date/Time: September ____, 2018; _ a.m.
MICHAEL S. AMATO Objection Date/Time: September __, 2018; __ p.m.
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

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In re: Chapter ll

BIG APPLE ENERGY, LLC Case No. 18-75807-ast
Debtor.

X

In re: Chapter ll

CLEAR CHOICE ENERGY, LLC Case No. 18-75808-ast
Debtor.

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MOTION TO COMPEL DEBTORS TO
ASSUME OR REJECT AGREEMENTS

Ameristar Energy, LLC, Allied Consolidated Energy, High Rise Energy, LLC, United
Energy Supply Corp, Global Energy, LLC, All American Power & Gas, LLC, Flanders Energy,
LLC and Pure Energy USA, LLC (collectively the “Movants” or “ESCO Clairnants”), by their
counsel, Ruskin Moscou Faltischek, P.C., as and for their motion (the “Motion”) for entry of an
order pursuant to ll U.S.C. § 365(d)(2), and Fed. R. Bankr. Pro. (“FRBP”) 6006 compelling

(i) the debtors Big Apple Energy, LLC (“Big Apple”) and its affiliate Clear Choice Energy, LLC

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(“Clear Choice” and, together with Big Apple, the “Debtors”) to assume or reject their Natural
Gas Sales Agreements, Power and Other Related Services Agreements and their other
agreements with the Debtors (the “Agreements”) within two weeks of the entry of an Order
approving this Motion (the “Assumption / Rejection Date”), and (ii) the Debtors and their lender,
Macquarie Investments US Inc. and or its affiliates (“Macquarie”), to notify the utility
companies to terminate the notices previously provided by the Debtors and ESCO Claimants and
authorize and direct the utility companies to redirect the monies presently being paid to one or
more lockboxes under the control of the Debtors and/or Macquarie (collectively, the “Lockbox”)
to the ESCO Claimants or their designees; together with such other and further relief as the Court
deems just and proper, respectfully state as follows:
PRELIMINARY STATEMENT

l. By this motion the ESCO Claimants are asking this Court to provide them relief
by compelling the Debtors to either assume the Agreements, which will require providing
adequate assurance of future performance and curing all defaults, or reject the Agreements and
allow the ESCO Claimants to replace the Debtors as their purchasing agents.

PROCEDURE

2. On August 27, 2018 (the “Petition Date”), the Debtors filed voluntary petitions
for relief pursuant to chapter ll of title ll, United States Code, ll U.S.C. et seq. (the
“Bankruptcy Code”).

3. The Debtors are authorized to remain in possession of its property and to continue
in the operation and management of its business as a debtor-in-possession pursuant to
Bankruptcy Code §§ 1107 and 1108.

4. As of the date of this Motion, no trustee or official committee has been appointed

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in these cases.
JURISDICTION AND VENUE

5. This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157
and 1334.

6. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before
this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

7. The statutory predicates for relief are ll U.S.C. §§ 365(d)(2) and 362(a) and
FRBP 4001 and 6006.

BACKGROUND

8. Pursuant to the Agreements between the respective ESCO Claimants and the
Debtors, the Debtors purchase natural gas and/or electricity from gas pipelines and independent
electricity service organizations (the “Suppliers”) for the benefit of the ESCO Claimants. The
Debtors also post collateral as may be required by the Suppliers in order to assure future
payments for the purchase of energy.

9. The ESCO Claimants then sell the energy purchased by the Debtors to end users
through delivery systems owned and operated by public service utility companies (e.g., natural
gas pipelines and overhead and underground electrical wiring systems). In each instance, the
utility companies bill and collect from the end users for: (a) the costs associated with the
delivery of the energy products (“Delivery Costs”); (b) the costs for the energy products
themselves (the “Energy Costs”); (c) the sales and other taxes associated with the transaction (the
“Taxes”); and (d) the amount charged by the ESCOS in connection with the sale (the “ESCO
Charges”). Once the monies are collected from the end users, the utility companies keep their

Delivery Costs and then forward the Energy Costs, Taxes and ESCO Charges to the ESCOs or

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their designees.

10. In or about 2015, the Debtors required that the ESCO Claimants direct the utility
companies to remit the Energy Costs, Taxes and ESCO Charges to the Lockbox.

ll. In order accommodate the Debtors and to continue receiving services from them,
the ESCO Claimants executed agreements whereby they directed the utility companies to
transmit the Energy Costs, Taxes and ESCO Charges to the Lockbox. Thereafter, the Debtors
removed the funds from the Lockbox and, pursuant to monthly reconciliations provided by the
Debtors to the ESCO Claimants which described the energy used by the end users, the costs of
the energy used and the collections of payments from the end users that were turned over to the
Lockbox, (a) paid the Energy Costs to themselves, and (b) paid the Taxes and ESCO Charges to
the appropriate ESCO Claimants.

l2. The ESCO Claimants’ businesses rely upon satisfactory performance of the
Debtors’ obligations under the Agreements. As an initial matter, the Debtors must timely pay
the Suppliers. In the event the Debtors were to default in doing so the Suppliers will notify the
utility companies who will migrate the ESCO’s customers back to the utility companies and
away from the ESCO, thereby destroying the ESCO’s customer base and revenues.
Additionally, the ESCOs are obligated to pay the Taxes (which were paid by the end users to the
utilities and forwarded to the Debtors’ Lockbox) to the governing authorities, and the ESCO
Charges to fund their operations, including their payroll. Thus, in order for the ESCO Claimants
to operate, it is critical that the Debtors comply with their obligations to remit the Taxes and
ESCO Charges to the ESCO Claimants.

l3. Prior to the commencement of these Chapter ll cases, the Debtors defaulted on

their obligations under the Agreements. They failed to make certain payments to Suppliers and,

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since in or about May 2018, have been in default in turning the entirety of the Taxes and ESCO
Charges over to the ESCO Claimants.

14. In order to save their businesses, the ESCO Claimants were forced to scrapple
funds together to pay the Suppliers themselves, as well as to fund their tax obligations and
operations.

15. With each day that passes, the amount of funds necessary to continue paying
Suppliers and fund their tax obligations and operations grows, and that amount will continue to
grow during the pendency of these cases.

16. Absent the relief requested by this Motion, the ESCO Claimants will be held
captive to the Debtors and its lender who have taken and will continue to take all the monies in
the Lockbox, notwithstanding the fact that nearly half of those monies are Taxes and ESCO
Charges which are earmarked for the ESCO Claimants. The ESCO Claimants are running out of
money and are being forced out of business

ARGUMENT

The Debtors Should Be Compelled to Assume or
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17. Pursuant to ll U.S.C. § 365(d)(2), a bankruptcy trustee has until plan
confirmation to decide Whether to assume or reject an executory contract. See ll U.S.C. §
365(d)(2). However, upon the request of the non-debtor party to the contract, the Court may
order the trustee to assume or reject the contract within a specified time. Id,' In re Hawker
Beechcraft, Inc., 483 B.R. 424, 428 (S.D.N.Y. Bankr. 2012). What constitutes a reasonable time
for a debtor to assume or reject a contract is a matter left to the Court’s discretion, based upon
the particular facts of the case. In re Adelphia Comm'cns Corp., 291 B.R. 283, 292 (Bankr.

S.D.N.Y. 2003); see Theatre Holding Corp. v. Mauro, 681 F.2d 102, 105 (2d Cir. 1982) (“What

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constitutes a reasonable time is left to the bankruptcy court’s discretion in the light of the
circumstances of each case.”); In re Teligem‘, Inc., 268 B.R. 723, 738 (Bankr. S.D.N.Y. 2001)
(“What constitutes a reasonable time is left to the bankruptcy court’s discretion, to be determined
on a case-by~case basis in light of the broad purposes of the entire Bankruptcy Code.”); In re
Braa'lees Stores, Inc., 194 B.R. 555, 558 n.l (Bankr. S.D.N.Y. 1996) (“In reviewing a debtor’s
decision to assume or reject an executory contract, the court must examine the contract and
circumstances and apply its best business judgment to determine if the assumption or rejection
would be beneficial or burdensome to the estate”) (emphasis added).

18. In determining whether to shorten the period of time in which a debtor must

assume or reject an executory contract, courts employ the following twelve factor test:

1. the nature of the interests at stake;
2. the balance of the hurt to the litigants;
3. the good to be achieved;

4. the safeguards afforded to the litigants;

5. whether the action to be taken is so in derogation of Congress’ scheme
that the court may be said to be arbitrary;

6. the debtor’s failure or ability to satisfy post-petition obligations;

7. the damage that the non-debtor will suffer beyond the compensation
available under the Bankruptcy Code;

8. the importance of the contract to the debtor’s business and reorganization;

9. whether the debtor has sufficient time to appraise its financial situation
and the potential value of its assets in formulating a plan of reorganization;

10. whether there is a need for judicial determination as to whether an
executory contract exists;

11. whether exclusivity has been terminated; and

12. above all, the broad purpose of Chapter 11, which is to permit successful
rehabilitation of debtors.

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In re Hawker Beechcraft, Inc., 483 B.R. at 429 (quoting In re Adelphia Comrnc'ns, 291 B.R. at

293; In re Dana Corp., 350 B.R. 144, 147 (Bankr. S.D.N.Y. 2006)). These factors are not

exhaustive, and depending on the circumstances, there may be other factors that a bankruptcy

court should consider. Id. (citing cases).

19. Here, these factors weigh in favor of compelling the Debtors to assume or reject

the Agreements by the Assumption / Rejection Date sought herein:

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The nature of the interests at stake: The Debtors interest in their
Agreements with the ESCO Claimants is their raison d'étre. Without their
service contracts, the Debtors cannot exist. Likewise, in order to stay in
business, the ESCO Claimants require that the Debtors satisfactorily
perform their obligations under the Agreements, Unless the Debtors do
so, it is only a matter of time before the ESCO Claimants are forced to
cease operating.

The balance of the hurt to the litigants.' At the hearings held to date
before this Court, the parties have been clear that this case is a liquidation.
In that case, the ESCO Claimants will need to replace the Debtors as their
purchasing agents prior to the time that Macquarie ceases providing funds
to the Debtors because, once Macquarie’s funding ceases, the ESCO
Claimants’ businesses will be destroyed. On the flip side, even if this case
were a reorganization, it Would be critical to the Debtors that they assume
the Agreements because absent a prompt assumption (or rejection) the
ESCO Claimants will forced out of business, thereby negating any value
of the Agreements for the Estates.

The good to be achieved: By allowing the ESCO Claimants to exit the
Agreements, they will be able to purchase energy directly from the
Suppliers or find a replacement agent for the Debtors and, more
importantly, they will be able to collect the Taxes and ESCO Charges
directly, which will enable them to pay their taxes, employees and other
operating expenses.

The safeguards ajorded to the litigants: Rejection of the Agreements will
safeguard the ESCO Claimants’ ability to continue in business. The
Debtors, on the other hand, are in liquidation and will not be reorganizing.
Even if they were reorganizing, assuming the Agreements would protect
the value of the Agreements for the Estates.

Whether the action to be taken is so in derogation of Congress' scheme
that the court rnay be said to be arbitrary; Congress established the
bankruptcy courts with broad equitable rights. In would be inequitable for

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10.

ll.

12.

Macquarie to continue to convert all funds resulting from the ESCO
Claimants’ proper business efforts

The debtor ’s failure or ability to satisfy post-petition obligations: This
factor weighs heavily in that the Debtors have not paid their administrative
obligations to the ESCO Claimants and even when they attempted to
include payments to the ESCO Claimants in the budget with respect to
their financing order, Macquarie insisted that those payments, in the
approximate amount of $l million, be removed from the budget.

The damage that the non-debtor will suffer beyond the compensation
available under the Bankruptcy Code: As indicated above, the ESCO
Claimants have been scrapping money together to fund their operations
since May, 2018, without receiving the majority of the ESCO Charges to
which they are entitled, and are on the brink of losing their businesses

The importance of the contract to the debtor ’s business and
reorganization: As indicated at the hearing held before this Court on
September 6, 2018, Macquarie is providing funding for the purpose of
liquidating its $20 million loan and does not intend to provide funding for
the Debtors to reorganize. In addition, it is estimated that one half of the
funds taken by Macquarie when it swept the Debtors’ Lockbox, are funds
that comprise the Taxes and ESCO Charges which were earmarked for the
ESCO Claimants.

Whether the debtor has su]j‘z`cient time to appraise its financial situation
and the potential value of its assets in formulating a plan of
reorganization; The Debtors know that their financial situation is dire and
that there is no likelihood of a reorganization

Whether there is a need for judicial determination as to whether an
executory contract exists: The executory nature of the Agreements should
be clear: the Debtors purchase energy for the benefit of the ESCO
Claimants, collect the proceeds of payments made by the end users of that
energy, and then disburse the appropriate portion of those proceeds to the
ESCO Claimants. The Debtors have not disbursed the funds and are in
breach of their executory obligations under the Agreements.

Whether exclusivity has been terminated; Exclusivity has not been
terminated

The broad purpose of Chapter 11, which is to permit successful
rehabilitation of debtor.' There will not be a rehabilitation of these
Debtors.

20. lt is submitted that it will not only be proper, but that equity cries out to compel

the Debtors to assume or reject the Agreements by the Assumption / Rejection Date. Similarly,

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the Court also should compel the Debtors and Macquarie (along with the ESCO Claimants) to
notify the utility companies to terminate the notices previously provided by the Debtors and
ESCO Claimants and authorize and direct the utility companies to redirect the monies presently
being paid to the Lockbox to the ESCO Claimants or their designees Absent such an order, the
Debtors and Macquarie will continue to receive the funds in the Lockbox to which they have no
right or interest. Indeed, the Debtors already are receiving funds in the Lockbox to which they
have no right or interest because, in some cases, the Debtors ceased providing energy and ESCO
Claimants have been paying the Suppliers themselves
NOTICE

21. The Movants have provided copies of Motion upon: (i) Debtor’s counsel; (ii) the
Office of the United States Trustee; and (iii) all parties that requested notice in this case. The
Movants respectfully submit that such notice is reasonable and is good and proper notice and no
additional notice is necessary or required.

COMPLIANCE WITH LOCAL BANKRUPTCY RULE 9013-1

22. This Motion includes citations to the applicable rules and statutory authorities
upon which the relief requested herein is predicated and a discussion of their application to this
Motion. Accordingly, the ESCO Claimants submit that this Motion satisfies Local Bankruptcy
Rule 9013-1(a).

CONCLUSION

WHEREFORE, based upon the foregoing, the Movants respectfully request that the
Court enter an order, pursuant to 11 U.S.C. § 365(d)(2), and FRBP 6006 compelling (i) the
Debtors to assume or reject the Agreements by the Assumption / Rejection Date, and (ii) the

Debtors and Macquarie to notify the utility companies to terminate the notices previously

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provided by the Debtors and ESCO Claimants and authorize and direct the utility companies to
redirect the monies presently being paid to the Lockbox to the ESCO Claimants or their

designees; together with such other, further and different relief as the Court deems just and

proper.

Dated: Uniondale, New York
September 11, 2018

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